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Hot Topics:
NEW Reforms

Deepwater Drilling
Compliance Info

Notice to Les

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Deepwater Horizon Response

On April 20, 2010 while working on an exploratory well approximately 50 miles offshore Louisiana, the semi-
submersible drilling rig Deepwater Horizon experienced an explosion and fire. The cause of the incident is
under investigation. The Bureau is actively working with the U.S. Coast Guard and the operator of the drilling
rig in securing the well and protecting the environment. Updates regarding response operations can be found
at Deepwater Horizon Response.

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To report oiled wildlife, please call 1-866-557-1401 and leave a message. Messages will be checked
hourly.

To report oil spil! related damage, please call 1-800-440-0858.

To report oiled shoreline or request volunteer information, please call 1-866-448-5816.
Follow us on Facebook at Deepwater Horizon Response.

To submit alternative response technology, services or products please call (281) 366-5511.
The Joint Information Center: (713) 323-1670 and (713) 323-1671

Submit a claim for damages: (800) 440-0858

Medical support hotline: (888) 623-0287

Documents

BP's Gulf of Mexico Regional Oil Spill Response Plan (62 KB POF)

Well Permits and
Plans

Investigations and
Review Unit

Contact:
Public Affairs

DOI.GOV USA.GOV Accessibility Disclaimers

FOIA Inspector General Privacy Topic Index

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